       Case 2:10-cr-00035-MCE Document 68 Filed 11/23/11 Page 1 of 2


1    J. Toney
     Attorney at Law
2    State Bar No. 43143
3    P.O. Box 1515
     Woodland, California 95776
4    (530) 666-1908
     yoloconflict@aol.com
5
     Attorney for Derrick Stampley
6
7                     IN THE UNITED STATES DISTRICT COURT
8                    FOR THE EASTERN DISTRICT OF CALIFORNIA
9    UNITED STATES OF AMERICA,          )
                                        ) Cr. No. 10-35 MCE
10           Plaintiff,                 )
                                        ) STIPULATION AND
11      v.                              ) ORDER CONTINUING STATUS
                                        ) CONFERENCE (Dec. 1, 2011
12   DERRICK STAMPLEY,                  ) before Judge England)
     et al                              )
13                                      )
                                        )
14           Defendants,                )
     ___________________________________)
15
16
         The parties continue to work toward resolution of this case.
17
     Defense Counsel is in trial and the U.S. Attorney in this case is
18
     out of State due to training.      The parties therefore stipulate that
19
     the Status Conference be continued to Dec. 1, 2011 and ask that
20
     the Court so order.    The parties also stipulate that time under
21
     the Speedy Trial Act be excluded for Counsel preparation, local
22
     code T4.
23
     Dated Nov. 14, 2011
24
         /s/ JASON HITT                         /s/ J TONEY
25         Jason Hitt                            J Toney
     Assistant U S Attorney                   Attorney for D. Stampley
26
27
28                                        1
       Case 2:10-cr-00035-MCE Document 68 Filed 11/23/11 Page 2 of 2


1         Good cause appearing, it is hereby ordered that the status
2    conference be continued to Dec. 1, 2011 at 9:00 AM and that the
3    period from Nov. 17, 2011 to Dec. 1, 2011 be excluded from
4    calculation under the Speedy Trial Act pursuant to 18 USC Sec.
5    3161 (h)(7)(A) and local code T4.
6         The Court also finds that the ends of justice served by
7    granting defendant’s request for a continuance outweigh the best
8    interest of the public and defendant in a speedy trial.
9
     Dated: November 22, 2011
10
11                                      _____________________________
                                        MORRISON C. ENGLAND, JR.
12
                                        UNITED STATES DISTRICT JUDGE
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28                                        2
